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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND
14                                               Q CYBER TECHNOLOGIES LIMITED’S
                 Plaintiffs,
                                                 OPPOSITION TO ADMINISTRATIVE
15                                               MOTION TO ENLARGE PLAINTIFFS’
           v.
                                                 TIME TO FILE DISCOVERY-RELATED
16                                               MOTIONS UNDER CIVIL LOCAL RULE
     NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,           37-3
17
                 Defendants.                     Action Filed: 10/29/2019
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     DEFENDANTS’ OPPOSITION TO                                       Case No. 4:19-cv-07123-PJH
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 1   I.     INTRODUCTION

 2          Plaintiffs’ conduct throughout this case has evinced their apparent belief that the normal

 3   rules simply do not apply to them, and this motion is another example. It should be denied.

 4          First, a stipulation for depositions after the discovery cutoff was needed because Plaintiffs

 5   refused to produce those witnesses earlier—despite Defendants’ repeated requests beginning in

 6 January 2024. As part of the stipulation, the parties agreed “All other deadlines of the Case

 7 Management Schedule remain in place.” (Dkt. No. 380 ¶ 4.) Defendants thus obtained express

 8 protection that Plaintiffs could not use late depositions as an excuse to extend deadlines. Having
 9 obtained the benefit for which they bargained, Plaintiffs now ask to unravel the parties’ stipulation.

10          Second, Plaintiffs made no meaningful attempt to obtain agreement before filing this

11   motion and did not even contact Defendants about it until 4:55 p.m. on the day of the deadline.

12          Third, Plaintiffs have not shown good cause why they did not file any discovery-related

13   motions by the September 20 deadline, as required by Local Rule 37-3. Plaintiffs were aware of

14   all issues that might form their basis for discovery motions no later than September 6, 2024, and

15   sent a letter outlining all those issues on September 12. Plaintiffs did not attach their September

16   12 letter to their motion, perhaps because it establishes their awareness of the issues and the ample

17   time Plaintiffs had to raise them by the motion deadline. Nor do depositions held after the

18   discovery cutoff provide a basis for extending the motion deadline. Plaintiffs omit the crucial fact

19   that depositions of Defendants’ employees concluded September 6—two weeks before the deadline

20   to file a motion based on those depositions! The fact that three depositions of Plaintiffs’ employees

21   and two of third parties took place after the discovery cutoff (attributable entirely to Plaintiffs’

22   postponing eight depositions Defendants tried to take earlier (Akro. Decl. Exh. A)) cannot provide

23   good cause to extend the date for Plaintiffs to bring discovery motions against Defendants.

24          Accordingly, Plaintiffs’ motion should be denied as to Defendants and third parties alike.

25   II.    BACKGROUND

26          A. Defendants’ Document Productions Were Substantially Complete Four Weeks

27              Before the Motion Deadline

28          At the February 15, 2024, hearing, Defendants informed the Court a six-month extension
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 1   of the discovery cutoff would be required to obtain approvals necessary to produce the discovery

 2   ordered (Feb. 15, 2024, Tr. 57:3-14). True to that word, Defendants obtained those approvals in

 3 August 2024 and produced to Plaintiffs 4,444 documents (45,304 pages) sufficient to show to the

 4   full functionality of Pegasus on August 23-24, 2024. Moreover, in response to the Court’s August

 5   1, 2024, Order compelling production of the AWS server, on August 23, Defendants produced to

 6   Plaintiffs’ counsel of record, Ron Lehmann, 9,311 electronic files comprising the AWS server

 7   image, including Pegasus code. Defendants’ production of documents was substantially complete

 8   by August 24. (Akro. Decl. ¶ 2.) Plaintiffs point out that a third party, Westbridge Technologies,

 9   produced documents on September 15, but identify no dispute related thereto (Id.¶ 4.)

10          B. Defendants’ Witnesses Appear for Depositions Weeks Before the Motion Deadline

11          Despite numerous legal challenges, Defendants’ witnesses appeared for depositions

12 between August 27 and September 6. (Akro. Decl. ¶ 5.) Any issues arising out of those depositions

13 were thus known to Plaintiffs by September 6, at the absolute latest.

14          C. The Parties’ Stipulation Regarding Remaining Discovery Deadlines

15          Eleven days ago, the parties filed a stipulation and proposed order regarding the remaining

16 discovery and discovery deadlines. (Dkt. No. 378.) The stipulation allowed for five additional

17 depositions to proceed after the September 13 fact discovery cutoff. These depositions had to take

18 place after the discovery cutoff because Plaintiffs unilaterally postponed eight depositions of their
19 employees that Defendants began requesting in January 2024. (Akro Decl. Exh. A and ¶ 6.) This

20   included three postponements of Susan Glick, two of Jonathan Lee, and one each of Aashin

21   Gautam, Claudiu Gheorghe, and Carl Woog. (Id.) Meanwhile, Defendants did not ask to postpone

22   or reschedule a single deposition of their employees. (Akro Decl. ¶ 5.)

23          As part of the stipulation—and despite being aware of any supposed issues relating to

24   Defendants’ document productions and deposition testimony—Plaintiffs agreed that “[a]ll other

25   deadlines of the Case Management Schedule (see Dkt. No. 357) [would] remain in place.” (Dkt.

26 No. 380, Order ¶ 4.) The Court entered the jointly-proposed Order on September 16, 2024. (Id.)

27          The parties then proceeded to take the stipulated depositions. The parties took the

28   depositions of two third-party witnesses on September 17-18. Plaintiffs have identified no dispute
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 1   arising out of those depositions. (Akro. Decl. ¶ 7.) The other depositions were of Plaintiffs’

 2   employees. Plaintiffs have not identified discovery disputes relating to such depositions, nor would

 3   it make sense for Plaintiffs to file motions regarding depositions of their own witnesses. (Id.)

 4          D.      Plaintiffs’ September 12, 2024, Letter

 5          On September 12, Plaintiffs sent a lengthy discovery letter identifying eight issues with

 6 respect to Defendants’ document productions and deposition testimony. Plaintiffs were aware of

 7 five of them by August 26, and of the remaining three by September 6. (Akro Decl. ¶ 8.)

 8                    ISSUE                       DATE OF PLAINTIFFS’ AWARENESS
      1. Production of AWS Server           August 23, 2024, date of Defendants’ production of
 9                                          AWS server
      2. Alleged Deficiencies in NSO’s      August 24, 2024, date of substantial completion of
10    Document Productions                  Defendants’ production of documents
      3. NSO’s Application of Redactions to August 24, 2024, date of substantial completion of
11    Documents                             Defendants’ production
      4. NSO’s Log of Withheld Documents September 3, 2024, date of NSO’s privilege log
12    5. Relevant Time Period of Discovery Plaintiffs’ request to expand the discovery period by
                                            at least 5 more years (which would effectively re-
13                                          start the discovery period), relies solely on the
                                            deposition of Tamir Gazneli dated September 4, 2024
14    6. NSO’s Refusal to Provide 30(b)(6) August 26, 2024, date of Defendants’ service of
      Testimony on Certain Topics           objections and responses to notice of deposition of
15                                          Defendants
      7. NSO’s Witnesses’ Failure to        September 6, 2024, the last date of the Rule 30(b)(6)
16    Provide 30(b)(6) Testimony/Refusal    deposition of Defendants
      to Respond to Certain Questions
17    8. NSO’s Failure to Supplement or     August 22, 2024, date of service of Defendants’
      Amend Certain RFA Responses           Amended RFA Responses
18
            Moreover, Plaintiffs’ lengthy September 12 discovery letter did not actually request a
19
     conference of counsel on any of the issues stated therein, nor did Plaintiffs request a conference of
20
     counsel as to these issues at any other time prior to the September 20 deadline. (Akro. Decl. ¶ 9.)
21
            Plaintiffs’ counsel and Defendants’ counsel then shared conference rooms for over 30
22
     hours on September 17, 18, 19, and 20, 2024 in and around Washington, D.C., but Plaintiffs’
23
     counsel never asked Defendants’ counsel to confer as to any discovery disputes. (Id.)
24
            E.      Plaintiffs Prepared, but did not File, a Motion to Compel Against Two Third
25                  Parties
26          On September 7, Plaintiffs served their portion of a joint discovery dispute letter related to

27   subpoenas to third parties Omri Lavie and Westbridge Technologies (counsel for Defendants also

28   represent these third parties in connection with those subpoenas). (Akro Decl. ¶ 10.) The third
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 1   parties provided their portion of the joint letter on September 16, 2024. (Id.) Plaintiffs did not file

 2   the joint letter, which is now untimely.

 3 III.     ARGUMENT

 4          Local Rule 37-3 requires motions relating to discovery, including motions for sanctions,

 5 be filed within seven days of the fact discovery cutoff. Extension of the deadline requires good

 6   cause. Fed. R. Civ. P. 6(b)(1)(A). It also requires, among other things, meaningful attempts to

 7   secure a stipulation before filing a motion and identification of some “substantial harm or

 8   prejudice” that would result if the extension were not granted. Civil L.R. 6-3(2), (3). Because

 9   Plaintiffs were not diligent, they lack good cause to extend the September 20 deadline.

10          First, NSO agreed that Plaintiffs could present three of their employees for deposition after

11   the fact discovery cutoff, depriving NSO of that testimony before opening expert reports were due.

12   But NSO obtained agreement that “[a]ll other deadlines of the Case Management Schedule [shall]

13   remain in place.” (Id. Order ¶ 4.) Fully aware of any supposed deficiencies in NSO’s discovery

14   responses, Plaintiffs agreed to maintain the case management schedule in return for being able to

15 delay depositions of key witnesses Defendants sought to depose months earlier. Having obtained

16 their bargained-for benefits, Plaintiffs cannot now renege on the protections NSO bargained for.

17          Second, Plaintiffs made no meaningful attempt to confer about the September 20 deadline

18 before filing their motion. Civil L.R. 6-3(2). At 4:55 p.m. on the day of the deadline (2:55 a.m.
19 on Saturday, September 21 in Israel), Plaintiffs first informed NSO they were contemplating a

20 motion and demanded NSO’s position within 35 minutes. (Akro Decl. ¶ 11.) Plaintiffs did so

21 knowing NSO would be unreachable given the time difference with Israel and Sabbath observance.

22          Third, Plaintiffs have not shown good cause for an extension. Good cause exists only

23 where a moving party could not reasonably meet the existing schedule despite diligence. Johnson

24 v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). Carelessness is not compatible

25 with a finding of diligence, and if the moving party was not diligent, “the inquiry should end.” Id.

26          Here, Plaintiffs were aware of most of the discovery disputes outlined in their September

27 12, 2024, letter by August 24, and were aware of all of them by September 6. Plaintiffs could

28 have filed their motions by September 20, but failed to do so. Indeed, Plaintiffs provided a draft
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 1   joint letter brief to third parties Omri Lavie and Westbridge Technologies on September 7, 2024.

 2   King & Spalding returned the opposing portion of the letter brief on September 16, but Plaintiffs

 3   elected not to file it. And their motion makes no attempt to explain why Plaintiffs failed to meet

 4   the deadline or to move for an extension until after the close of business on September 20.

 5          Plaintiffs’ suggestion that the deadline should somehow be tolled because the parties were

 6   conferring is both false (Plaintiffs never asked Defendants to confer (Akro. Decl. ¶ 9)) and

 7   irrelevant, see Ries v. Arizona Beverages USA LLC, No. 10-01139 RS, 2013 WL 12172652, at *5

 8   (N.D. Cal. Feb. 5, 2013) (rejecting argument that “the deadline for raising discovery disputes with

 9   the Court was somehow tolled as long as [the parties] were continuing to meet and confer”).

10          Nor does the taking of depositions of third-parties or Plaintiffs’ employees after the

11   September 13, discovery cutoff provide a basis to extend the motion deadline as to NSO. As set

12   forth in Exhibit A to the Akro. Decl., the compressed schedule was entirely the result of Plaintiffs

13   unilaterally postponing eight depositions Defendants began requesting in January. Plaintiffs

14   cannot deliberately postpone depositions as part of their litigation strategy and then use that delay

15   to request additional time for motion practice. Plaintiffs have nearly infinite litigation resources

16   compared to NSO, and their counsel easily could have handled both depositions and the

17   preparation of discovery motions, as Defendants did. (Dkt. No. 381, 382, 386.)

18          Having failed to demonstrate good cause or that they were unable to meet the September

19   20 deadline despite diligent efforts, Plaintiffs’ motion should be denied. Johnson, 975 F.2d at 609.

20   IV.      CONCLUSION

21          For the foregoing reasons, the Court should deny Plaintiffs’ administrative motion. 1

22   Dated: September 24, 2024                     KING & SPALDING LLP

23                                                 By:    /s/Joseph N. Akrotirianakis
                                                          JOSEPH N. AKROTIRIANAKIS
24                                                 Attorneys for Defendants NSO GROUP TECHS.
                                                   LTD. and Q CYBER TECHS. LTD.
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   1
     Should the Court grant Plaintiffs’ Motion (and it should not), Defendants request that any
27 extension be mutual. Defendants recently learned that: (1) Plaintiffs’ employees communicated

28 with each other using mobile devices about the issues in this case; and (2) Plaintiffs categorically
   did not image employees’ phones to preserve those communications. (Akro. Decl. ¶ 12.)
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